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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )             8:05CR32
                       Plaintiff,              )
                                               )
         vs.                                   )              ORDER
                                               )
KRISTINA VOIEN,                                )
                                               )
                   Defendant.                  )




         The records of the court show that on April 18, 2005, a letter (Filing No. 29 ) was sent to
Gregory A. Pivovar from the Office of the Clerk directing that he register for the U.S. District Court
of Nebraska’s Case Management/Electronic Case Filing System (“System”). As of May 10,
2005, the attorney has not complied with the request set forth in the letter from the Office of the
Clerk.


         IT IS ORDERED:
         On or before May 24, 2005, Attorney Gregory A. Pivovar is to register for the System or
show cause by written affidavit why he cannot comply with the rules of the court.
         DATED this 10th day of May, 2005.
                                                       BY THE COURT:
                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
